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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION


 ROBERT S. MITCHELL                                                            PETITIONER

 vs.                             No. 4:23-cv-00742-LPR-JTK

 DEXTER PAYNE,
 Director, Arkansas Division of Correction                                    RESPONDENT


                 PETITIONER’S MOTION FOR LEAVE TO FILE
                      AN AMENDED HABEAS PETITION

COMES NOW Petitioner Mitchell by his attorney Andrew Thornton, and for his motion for leave

to file an amended habeas petition would respectfully show the Court as follows:

        1.     The Court appointed undersigned counsel to represent Petitioner Mitchell pursuant

to Local Rule 83.7 on February 3, 2025. (Doc. No. 34) The Court granted 45 days to undersigned

counsel to review the file and file any necessary pleadings. (Id.) That deadline was then extended

to May 4, 2025. (Doc. No. 36.)

        2.     Undersigned counsel has now reviewed the file and met twice with Petitioner

Mitchell at ADC. Undersigned counsel has researched and drafted potential habeas claims to make

in a proposed amended habeas petition, and Petitioner Mitchell has selected which claims he

wishes to pursue. Those claims are in the attached proposed amended habeas petition.

        3.     The attached proposed amended habeas petition also addresses the Court’s

concerns about Petitioner Mitchell’s understanding of his sentence and parole eligibility and

attaches the materials requested by the Court: a copy of the plea agreement (Exh. D), written

communications during the plea negotiation process (Exhs. B, C), and a copy of the transcript of

the change-of-plea hearing (Exh. E). (See Doc. No. 34 at 3–4.)
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       4.      Petitioner Mitchell therefore moves under Fed. R. Civ. P. 15(a)(2) for leave to file

an amended habeas petition. See Rule 12, Rules Governing Section 2254 Cases (Fed. R. Civ. P.

apply to § 2254 proceedings).

       5.      Local Rule 5.5(e) requires a concise statement setting out what is being amended.

The original pro se petition was handwritten and the proposed amended petition completely

rewrites the petition, reorganizes the materials in a more typical format, and makes two specific

claims: breach of the plea agreement and violation of due process.

       WHEREFORE, Petitioner Mitchell prays this Honorable Court grant Petitioner Mitchell

leave to file the attached amended habeas petition, and all other relief just and proper.


                                                  Respectfully submitted,

                                                  ROBERT S. MITCHELL
                                                  Petitioner

                                           By:    /s/ Andrew Thornton
                                                  Andrew Thornton, Ark. Bar No. 2016202
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                                                  Attorney for Petitioner Mitchell

                                  CERTIFICATE OF SERVICE

I certify that on May 2, 2025, I electronically filed this document by CM/ECF, which will serve

it upon the respondent’s attorney of record.

                                                  /s/ Andrew Thornton



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